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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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DR. A., NURSE A., DR. C.,
NURSE D., DR. F., DR. G.,
THERAPIST I., DR. J.,
NURSE J., DR. M.,
NURSE N., DR. O., DR. P.,
TECHNOLOGIST P.,
DR. S., NURSE S., and
PHYSICIAN LIAISON X.,

                    Plaintiffs,

              -v-                       1:21-CV-1009

KATHY HOCHUL, Governor
of the State of New York, in
her official capacity, DR.
HOWARD A. ZUCKER,
Commissioner of the New York
State Department of Health, in
his official capacity, and
LETITIA JAMES, Attorney
General of the State of New
York, in her official capacity,

                    Defendants.

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APPEARANCES:                            OF COUNSEL:

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Whitestone, NY 11357
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DAVID N. HURD
United States District Judge

                MEMORANDUM-DECISION and ORDER

I. INTRODUCTION

   On August 26, 2021, the New York State Department of Health adopted

an emergency regulation that required most healthcare workers to be

vaccinated against COVID-19 within the next thirty days. N.Y. COMP. CODES

R. & REGS. tit. 10, § 2.61(c) (2021). As relevant here, § 2.61 eliminated a

religious exemption included in the first iteration of this mandate.

   On September 13, 2021, seventeen healthcare workers employed in New

York State (“plaintiffs”), all of whom object to the existing COVID-19 vaccines

on religious grounds, filed this official-capacity 42 U.S.C. § 1983 action

against New York State Governor Kathy Hochul (“Hochul”), New York State

Health Commissioner Howard A. Zucker (“Zucker”), and New York State

Attorney General Letitia James (“James”) (collectively “defendants”).



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   Plaintiffs’ three-count verified complaint alleges that § 2.61 violates their

constitutional rights because it effectively forbids employers from considering

workplace religious accommodations under processes guaranteed by federal

law. Plaintiffs sought to enjoin defendants from, inter alia, enforcing § 2.61

“to the extent it categorically requires health care employers to deny or

revoke religious exemptions from COVID-19 vaccination mandates.”

   On September 14, 2021, the Court issued a temporary restraining order

(“TRO”) to that effect, Dr. A. v. Hochul, 2021 WL 4189533 (N.D.N.Y.), and

ordered briefing on whether the TRO should be converted to a preliminary

injunction pending a resolution of the merits of plaintiffs’ constitutional

claims seeking a permanent injunction. The TRO was extended for good

cause to this date, October 12, 2021. Dkt. No. 15. The motion has been fully

briefed and will be decided on the basis of the submissions without oral

argument.

II. BACKGROUND 1

   On June 25, 2021, then-Governor Andrew Cuomo rescinded the COVID-19

public health emergency declaration that had been in effect across New York




   1 The facts are taken from plaintiffs’ verified complaint, Dkt. No. 1, which is tantamount to an
affidavit, see 28 U.S.C. § 1746, and from the declaration of Elizabeth Rausch-Phung, M.D., M.P.H.,
Dkt. No. 16. A review of these submissions did not reveal any genuine disputes over the essential
facts necessary to decide the motion. See, e.g., In re Defend H20 v. Town Bd. of Town of E. Hampton,
147 F. Supp. 3d 80, 96–97 (E.D.N.Y. 2015) (discussing circumstances in which an evidentiary
hearing on a preliminary injunction is unnecessary).

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State for the previous eighteen months. Compl. ¶ 16; N.Y. Exec. Order 210

(June 24, 2021). As defendants explain, Cuomo’s decision was based on

“declining hospitalization and [rates of COVID-19] positivity statewide, as

well as success in vaccination rates.” Rausch-Phung Decl., Dkt. No. 16 ¶ 19.

   However, the end of the emergency declaration did not bring an end to

defendants’ exercise of their emergency powers. 2 Compl. ¶ 17. On August

18, 2021, Health Commissioner Zucker issued an “Order for Summary

Action” that required general hospitals and nursing homes to “continuously

require all covered personnel to be fully vaccinated against COVID-19.” Ex.

B to Compl. at 95–101 (the “August 18 Order”). The August 18 Order

included a medical exemption as well as an explicit religious exemption:

               Religious exemption. Covered entities shall grant a
               religious exemption for COVID-19 vaccination for
               covered personnel if they hold a genuine and sincere
               religious belief contrary to the practice of
               immunization, subject to a reasonable accommodation
               by the employer.

Id.; see also Compl. ¶ 20.

   Just five days later, on August 23, 2021, New York State’s Public

Health & Health Planning Council (the “Health Council”), acting on a

summary basis pursuant to its statutory authority under the Public Health




   2 The New York legislature has curbed the executive’s authority to issue new COVID-related
orders. See N.Y. Sess. Laws ch. 71 § 4.

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Law, published a proposed emergency regulation that would quickly be

adopted as § 2.61. 3 Id. ¶¶ 4–5. This proposal expanded the vaccination

requirement set forth in the August 18 Order to reach personnel in other

healthcare settings. Rausch-Phung Decl. ¶ 5. This proposal also eliminated

the religious exemption found in Zucker’s August 18 Order. See id.

   On August 26, 2021, three days after its publication, the Health Council

adopted § 2.61, which superseded the August 18 Order and became effective

immediately. Rausch-Phung Decl. ¶ 5. According to defendants, the Health

Council’s emergency action was a necessary measure to control the continued

spread of Delta and other SARS-CoV-2 variants. Id. ¶¶ 8–21.

   The seventeen plaintiffs are “practicing doctors, M.D.s fulfilling their

residency requirement, nurses, a nuclear medicine technologist, a cognitive

rehabilitation therapist and a physician’s liaison.” Compl. ¶ 36; see

also id. ¶¶ 38, 47, 56, 66, 74, 84, 91, 98, 108, 117, 128, 140, 149, 161, 171, 181,

188. They are employed by hospitals, nursing homes, and other New York

State entities that are subject to § 2.61. See id. ¶ 10.

   Plaintiffs hold the sincere religious belief that they “cannot consent to be

inoculated . . . with vaccines that were tested, developed or produced with

fetal cell[ ] line[s] derived from procured abortions.” Compl. ¶ 35; see also


   3 August 23 is also the date on which Cuomo resigned from office, Compl. ¶ 14, and when the
Food & Drug Administration (“FDA”) granted approval to the first COVID-19 vaccine for those age
sixteen and older, Rausch-Phung Decl. ¶ 33. Hochul has since assumed the governorship.

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id. ¶ 37 (detailing beliefs held in common by plaintiffs). According to

plaintiffs, the COVID-19 vaccines that are currently available violate these

sincere religious beliefs “because they all employ fetal cell lines derived from

procured abortion in testing, development or production.” Id. ¶¶ 9, 36; see

also Rausch-Phung Decl. ¶¶ 35–45 (acknowledging that fetal cell lines are

widely used in pharmaceutical development and were used in the testing and

production of current COVID-19 vaccines).

   The complaint alleges that each plaintiff has been denied a religious

exemption, or had an existing religious exemption revoked, on the basis of

their employers’ application of § 2.61. Compl. ¶¶ 39–42, 49–51, 58–60, 67–68,

77–78, 85, 92–94, 102, 111–12, 118–23, 129–31, 142–43, 154–56, 162–63,

173–74, 183–85, 189. The complaint further alleges that each plaintiff has

been threatened with professional discipline, loss of licensure, admitting

privileges, reputational harm, and/or the imminent termination of their

employment as a result of their refusal to comply with § 2.61. Id. ¶¶ 43–46,

52–55, 61–65, 69–73, 79–83, 86–90, 95–97, 103–07, 113–16, 124–27, 135–39,

144–48, 157–60, 164–65, 168–70, 176–80, 186–87, 190–91.

III. LEGAL STANDARD

   “A preliminary injunction is an extraordinary remedy never awarded as of

right.” Winter v. Nat’l Res. Def. Council, Inc., 555 U.S. 7, 24 (2008). To win

relief, the movant must ordinarily demonstrate: (1) a likelihood of irreparable

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harm; (2) either a likelihood of success on the merits or sufficiently serious

questions as to the merits plus a balance of hardships that tips decidedly in

their favor; (3) that the balance of hardships tips in their favor regardless of

the likelihood of success; and (4) that an injunction is in the public

interest. Page v. Cuomo, 478 F. Supp. 3d 355, 362–63 (N.D.N.Y. 2020).

   However, in cases like this one, where the movants seek to enjoin

government action taken in the public interest pursuant to a statutory or

regulatory scheme, the less rigorous “serious questions” component of this

legal standard is unavailable. Otoe-Missouria Tribe of Indians v. N.Y. State

Dep’t of Fin. Servs., 769 F.3d 105, 110 (2d Cir. 2014). As the Second Circuit

has explained, “[t]his exception reflects the idea that governmental policies

implemented through legislation or regulations developed through

presumptively reasoned democratic processes are entitled to a higher degree

of deference and should not be enjoined lightly.” Id. (citation omitted).

   Defendants’ opposition memorandum invokes a second exception to the

general rules governing preliminary injunctive relief. Defs.’ Opp’n, Dkt. No.

16-50 at 4, 11. 4 As defendants correctly note, a heightened standard can also

apply when the requested injunction (1) is “mandatory”; i.e., it will alter the

status quo by compelling some positive action; or (2) “will provide the movant




   4 Pagination corresponds to CM/ECF.


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with substantially all of the relief sought and that relief cannot be undone

even if the defendant prevails at a trial on the merits.” Page, 478 F. Supp. 3d

at 363. When either condition is met, the movant must make a “clear” or

“substantial” showing of a likelihood of success on the merits, and must also

make a “strong showing” of irreparable harm. Id.

    Upon review, however, it is not clear why this heightened requirement

should apply to plaintiffs’ request for preliminary injunctive relief. “An

injunction that enjoins a defendant from enforcing a regulation clearly

prohibits, rather than compels, government action by enjoining the future

enforcement.” Hund v. Cuomo, 501 F. Supp. 3d 185, 207 (W.D.N.Y. 2020)

(cleaned up). Nor have defendants articulated how this heightened standard

has been triggered. See generally Defs.’ Opp’n. Accordingly, the ordinary

rules applicable to “prohibitory” injunctions will be applied. See, e.g., Hund,

501 F. Supp. 3d at 207 (rejecting application of heightened standard where

plaintiff sought to enjoin application of COVID-19 Executive Order).

IV. DISCUSSION 5

    Since its ratification in 1791, the First Amendment has protected religious

practitioners from government action that “discriminates against some or all



    5 Although Eleventh Amendment immunity sometimes poses a bar to § 1983 relief against state
officials, the doctrine of Ex parte Young permits an official-capacity claim for prospective injunctive
relief to remedy an ongoing violation of federal constitutional law. See, e.g., Avitabile v. Beach, 277
F. Supp. 3d 326, 332 (N.D.N.Y. 2017).

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religious beliefs or regulates or prohibits conduct because it is undertaken for

religious reasons.” Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah,

508 U.S. 520, 532 (1993). And since Congress amended the statute in 1972,

Title VII of the Civil Rights Act of 1964 has explicitly required most

employers to reasonably accommodate an employee’s religious beliefs absent

evidence that doing so would pose an undue hardship. 42 U.S.C. § 2000e(j).

   Plaintiffs contend that § 2.61 conflicts with these longstanding federal

protections. In plaintiffs’ view, § 2.61 “flagrantly disallows the religious

protections required by federal employment law and specifically deletes its

own prior offering of religious exemptions for covered health care

workers.” Pls.’ Mem., Dkt. No. 5-1 at 13. As plaintiffs explain, § 2.61 “forbids

each of their employers from even considering requests for religious

exemptions notwithstanding the contrary requirements of Title VII.” Id. at

10 (emphases omitted). According to plaintiffs, “the specific events leading to

[§ 2.61’s] final version show that it effectively targets religious opposition to

the available COVID-19 vaccines.” Id. at 12.




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   A. Likelihood of Success & Irreparable Harm 6

   Plaintiffs have asserted § 1983 claims under the Free Exercise Clause,

Compl. ¶¶ 192–209, the Supremacy Clause, id. ¶¶ 210–19, and the Equal

Protection Clause, id. ¶¶ 220–37. To warrant preliminary injunctive relief,

plaintiffs must show a likelihood of success on the merits of at least one of

these constitutional claims. See, e.g., L.V.M. v. Lloyd, 318 F. Supp. 3d 601,

618 (S.D.N.Y. 2018). 7

   As an initial matter, however, the parties dispute whether a presumption

of irreparable harm should attach to these claims. Plaintiffs argue the

Supreme Court has recognized that “[t]he loss of First Amendment freedoms,

for even minimal periods of time, unquestionably constitutes irreparable

injury.” Pls.’ Mem. at 19 (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)

(plurality opinion)). Defendants respond that the Second Circuit has not

“consistently presumed irreparable harm in cases involving allegations of the


   6 Defendants’ threshold invocation of Jacobson v. Massachusetts, 197 U.S. 11 (1905), Zucht v.
King, 260 U.S. 174 (1922), and Prince v. Massachusetts, 321 U.S. 158 (1944) is misplaced. Defs.’
Mem. at 12–13. The Second Circuit has previously relied on this line of precedent to reject a Free
Exercise Clause challenge to vaccination requirements for schoolchildren. Phillips v. City of N.Y.,
775 F.3d 538 (2d Cir. 2015). And early in the COVID-19 pandemic a number of district courts,
including this one, relied on Jacobson to reject constitutional challenges to various COVID-19
emergency restrictions. See, e.g., Page v. Cuomo, 478 F. Supp. 3d 355 (N.D.N.Y. 2020). More
recently, however, the Supreme Court and the Second Circuit have both cautioned that courts should
not rely on Jacobson or its progeny to grant “special deference to the executive when the exercise of
emergency powers infringes on constitutional rights.” Agudath Israel of Am. v. Cuomo, 983 F.3d 620,
635 (2d Cir. 2020).

   7 Because plaintiffs are likely to succeed on the merits of their Free Exercise and Supremacy
Clause claims, the Court declines to reach the merits of the Equal Protection Claim. See Defs.’ Mem.
at 18–19.

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abridgement of First Amendment rights” unless the injury flows from “a rule

or regulation that directly limits speech.” Defs.’ Opp’n at 25 (quoting Bronx

Household of Faith v. Bd. of Educ. of City of N.Y., 331 F.3d 342, 349 (2d Cir.

2003)).

   To be sure, the existing precedent in this area of law is less than perfectly

clear. The question seems to arise most frequently in free speech cases, but

the Second Circuit has also applied the presumption in other constitutional

contexts. N.Y. Progress & Prot. PAC v. Walsh, 733 F.3d 483, 486 (2d Cir.

2013) (identifying dispute over applicability of the presumption).

   In short, as the Second Circuit explained in Jolly v. Coughlin, 76 F.3d 468

(2d Cir. 1996), the favorable presumption of irreparable harm arises only

after a plaintiff has shown a likelihood of success on the merits of a

constitutional claim. Id. at 482 (characterizing the presumption as one that

“flows from a violation of constitutional rights”).

   “Thus, when a plaintiff seeks injunctive relief based on an alleged

constitutional deprivation, ‘the two prongs of the preliminary injunction

threshold merge into one . . . in order to show irreparable injury, plaintiff

must show a likelihood of success on the merits.’” Page, 478 F. Supp. 3d at

364 (quoting Turley v. Guiliani, 86 F. Supp. 2d 291, 295 (S.D.N.Y. 2000)).




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   1. The Supremacy Clause & Title VII

   The Supremacy Clause declares that federal law “shall be the supreme

Law of the Land . . . any Thing in the Constitution or Laws of any State to

the Contrary notwithstanding.” U.S. Const. Art. VI, cl 2. Although it “is not

the source of any federal rights and certainly does not create a cause of

action,” Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 324–25

(2015) (cleaned up), the Supreme Court has long recognized that, “if an

individual claims federal law immunizes him from state regulation, the court

may issue an injunction upon finding the state regulatory actions

preempted,” id. at 326 (citing Ex parte Young, 209 U.S. 123, 155–56 (1908)).

   Plaintiffs contend that § 2.61 runs afoul of the Supremacy Clause because

it is preempted by Title VII, which prohibits discrimination in employment on

the basis of “religion.” 42 U.S.C. § 2000e-2(a)(1)–(2). Under Title VII, “[t]he

term ‘religion’ includes all aspects of religious observance and practice, as

well as belief, unless an employer demonstrates that he is unable to

reasonably accommodate [ ] an employee’s . . . religious observance or practice

without undue hardship on the . . . employer’s business.” § 2000e(j).

   This protection for religious belief means that “[a]n employer may not take

an adverse employment action against an applicant or employee because of

any aspect of that individual’s religious observance or practice unless the

employer demonstrates that it is unable to reasonably accommodate that

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observance or practice without undue hardship.” Equal Emp. Opportunity

Comm’n v. Abercrombie & Fitch Stores, Inc., 575 U.S. 768, 776 (2015) (Alito,

J., concurring). Importantly, however, “Title VII does not demand mere

neutrality with regard to religious practices . . . . [r]ather, it gives them

favored treatment.” Id. at 775 (majority opinion). Thus, under certain

circumstances, Title VII “requires otherwise-neutral policies to give way to

the need for an accommodation.” Id.

    Plaintiffs argue that § 2.61 conflicts 8 with Title VII’s religious protections

because it “conspicuously eliminates (and thereby forbids) any opportunity

for covered employees to even attempt to secure a reasonable accommodation

for their sincerely held religious objections to the currently available

COVID-19 vaccines.” Pl.’s Mem. at 7. Defendants respond that there is a

distinction between a so-called “religious exemption” and a “reasonable

accommodation.” Defs.’ Opp’n at 15 –16. According to defendants, “Title VII

does not entitle employees to a religious exemption—it only requires

employers to make reasonable accommodation so long as it can be provided

by the employer without undue hardship.” Id. at 16.



    8 “In general, three types of preemption exist: (1) express preemption, where Congress has
expressly preempted local law; (2) field preemption, where Congress has legislated so
comprehensively that federal law occupies an entire field of regulation and leaves no room for state
law; and (3) conflict preemption, where local law conflicts with federal law such that it is impossible
for a party to comply with both or the local law is an obstacle to the achievement of federal
objectives.” N.Y. SMS Ltd. P’ship v. Town of Clarkstown, 612 F.3d 97, 104 (2d Cir. 2010) (cleaned
up).

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   Upon review, plaintiffs have established at this early stage of the

litigation that they are likely to succeed on the merits of this constitutional

claim. Of course, defendants are correct that there is a substantial difference

between a blanket “religious exemption” from a vaccination requirement and

the “reasonable accommodation” for religious beliefs imposed on employers by

Title VII. But defendants’ assertion that § 2.61 “does not implicate Title VII

at all” and “does not require covered entities to deny reasonable

accommodation requests” fails to grapple with how the broad scope of the

Health Council’s mandate has allegedly impacted plaintiffs.

   The plain terms of § 2.61 do not make room for “covered entities” to

consider requests for reasonable religious accommodations. Instead, § 2.61

obligates all covered entities to “continuously require personnel to be fully

vaccinated against COVID-19.” And “personnel” is defined broadly, sweeping

in “all persons employed or affiliated with a covered entity, whether paid or

unpaid . . . who engage in activities such that if they were infected with

COVID-19, they could potentially expose other covered personnel, patients or

residents to the disease.”

   Plaintiffs allege that some of their employers have revoked existing

religious exemptions and/or religious accommodations by pointing to the

State’s adoption of § 2.61. See, e.g., Compl. ¶¶ 39–40, 77. Plaintiffs also

allege that some of their employers have refused to consider exemption or

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accommodation requests because of § 2.61. See, e.g., id. ¶ 49. Although Title

VII certainly does not require an employer in all cases to “accommodate” an

employee by necessarily granting them an “exemption,” the statute does

require employers to entertain requests for religious accommodations and to

“reasonably” accommodate those requests absent a showing of undue

hardship. According to plaintiffs, their employers have refused to engage in

that process because of § 2.61.

   Defendants also argue that § 2.61’s elimination of the religious exemption

language found in the August 18 Order brings it more in line with healthcare

workplace immunization requirements for measles and rubella. Although

fetal cell lines were used in the development of the rubella vaccine, there is

no religious exemption in the State regulations that require workers to be

immunized against this pathogen. Rausch-Phung Decl. ¶¶ 44, 47–48.

   However, this argument conflates the merits of plaintiffs’ present

constitutional claims with a hypothetical Title VII anti-discrimination claim

for a religious accommodation. What matters here is not whether a religious

practitioner would win or lose a future Title VII lawsuit. What matters is

that plaintiffs’ current showing establishes that § 2.61 has effectively

foreclosed the pathway to seeking a religious accommodation that is

guaranteed under Title VII.



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   In any event, plaintiffs have not alleged a religious objection to other

workplace vaccination requirements. Nor have defendants explained why the

State’s approach to immunization against measles and rubella necessarily

justifies an identical approach to SARS-CoV-2. 9 In sum, plaintiffs have

established that § 2.61 stands “as an obstacle to the accomplishment and

execution of the full purposes and objectives of Congress.” California Fed.

Sav. & Loan Ass’n v. Guerra, 479 U.S. 272, 281 (1987). Accordingly,

plaintiffs are likely to succeed on the merits of this claim.

   2. The First Amendment & The Free Exercise Clause

   The First Amendment provides that “Congress shall make no law

respecting an establishment of religion, or prohibiting the free exercise

thereof.” U.S. Const. amend. I. The “free exercise” component of this First

Amendment guarantee has been incorporated against the States through the

Fourteenth Amendment. Cantwell v. Connecticut, 310 U.S. 296, 303 (1940).

   “The free exercise of religion means, first and foremost, the right to believe

and profess whatever religious doctrine one desires.” Emp. Div., Dep’t of


    9 The State’s healthcare regulatory framework is not monolithic when it comes to workplace
immunization requirements. Although it may not be an explicit “religious exemption,” the relevant
regulation for “influenza season” only requires covered entities to “ensure that all personnel not
vaccinated against influenza for the current influenza season wear a surgical or procedure mask
while in areas where patients or residents are typically present.” N.Y. COMP. CODES R. & REGS.
tit. 10, § 2.59(d) (2014). It may be true that a hypothetical healthcare worker who sought a Title VII
religious accommodation from immunization against rubella would be rebuffed by their employer on
the basis of “undue hardship.” But the same hypothetical worker who objected on religious grounds
to vaccination against influenza—a respiratory disease broadly similar to COVID-19—could be
“reasonably accommodated” with a surgical mask.

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Hum. Res. of Or. v. Smith, 494 U.S. 872, 877 (1990). Accordingly, “religious

beliefs need not be acceptable, logical, consistent, or comprehensible to others

in order to merit First Amendment protection.” Thomas, 450 U.S. at 714.

   To that end, the Free Exercise Clause “protect[s] religious observers

against unequal treatment” and against “laws that impose special disabilities

on the basis of religious status.” Espinoza v. Mont. Dep’t of Revenue, 140 S.

Ct. 2246, 2254 (2020) (citation omitted). However, the Free Exercise Clause

“does not relieve an individual of the obligation to comply with a valid and

neutral law of general applicability on the ground that the law proscribes (or

prescribes) conduct that his religion prescribes (or proscribes).” Smith, 763

F.3d at 877 (citation omitted).

   A neutral and generally applicable law is subject to rational basis

review. Agudath Israel of Am. v. Cuomo, 983 F.3d 620, 631 (2d Cir.

2020). Under that standard, the law “is presumed to be valid and will be

sustained if the [burden imposed] by the statute is rationally related to a

legitimate state interest.” Cent. Rabbinical Cong. of U.S. & Can. v. N.Y. City

Dep’t of Health & Mental Hygiene, 763 F.3d 183, 186 n.2 (2d Cir. 2014)

(citation omitted). “A law burdening religious conduct that is not both

neutral and generally applicable, however, is subject to strict scrutiny.” Id.

at 193. Under that standard, the government must establish that the law is

“justified by a compelling interest” and “narrowly tailored to advance that

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interest.” Id. at 186 n.2 (citation omitted). “Neutrality and general

applicability are interrelated, and . . . failure to satisfy one requirement is a

likely indication that the other has not been satisfied.” City of Hialeah, 508

U.S. at 531.

   A law is not neutral if it is “specifically directed at [a] religious

practice.” Cent. Rabbinical Cong., 763 F.3d at 193 (citation omitted). To

determine whether a law is neutral, the court begins with the text, “for the

minimum requirement of neutrality is that a law not discriminate on its

face.” City of Hialeah, 508 U.S. at 533. A law discriminates on its face “if it

refers to a religious practice without a secular meaning discernable from the

language or context.” Id. Importantly, though, even a facially neutral law

may trigger heightened scrutiny if it “targets religious conduct for distinctive

treatment.” Id. at 534. Likewise, “[t]he general applicability requirement

prohibits the government from ‘in a selective manner impos[ing] burdens only

on conduct motivated by religious belief.” Cent. Rabbinical Cong., 763 F.3d

at 196 (citation omitted). Although “[a]ll laws are selective to some

extent, . . . categories of selection are of paramount concern when a law has

the incidental effect of burdening religious practice.” Id. at 197 (citation

omitted).

   Plaintiffs contend that § 2.61 “effectively targets religious opposition to the

available COVID-19 vaccines.” Pls.’ Mem. at 12. In plaintiffs’ view, the

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vaccination requirement “flagrantly disallows the religious protections

required by federal employment law and specifically deletes its own prior

offering of religious exemptions for covered health care workers.” Id. at

13. Defendants respond that § 2.61 is facially neutral because it “contains no

reference to religion” and “applies to every employee of the covered

entities.” Defs.’ Opp’n at 17. According to defendants, the “object” of the

vaccination requirement “is to protect public health and safety by reducing

the incidence of COVID-19.” Id. at 18.

   Upon review, plaintiffs have established at this early stage of the

litigation that § 2.61 is not a neutral law. As the Supreme Court has

explained, “the historical background of the decision under challenge, the

specific series of events leading to the enactment or official policy in question,

and the legislative or administrative history” are all relevant circumstantial

evidence in detecting a lack of neutrality. City of Hialeah, 508 U.S. at 540.

   Zucker’s August 18 Order, which was imposed on a summary basis,

included medical and religious exemptions to COVID-19 vaccination. The

Health Council’s adoption of § 2.61, which was imposed on a similar

summary basis just eight days later, amended the vaccination mandate to

eliminate the religious exemption. This intentional change in language is the

kind of “religious gerrymander” that triggers heightened scrutiny.



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   Plaintiffs have also established at this early stage of the litigation

that § 2.61 is not generally applicable. A law is “not generally applicable if it

is substantially underinclusive such that it regulates religious conduct while

failing to regulate secular conduct that is at least as harmful to the

legitimate government interests purportedly justifying it.” Cent. Rabbinical

Cong., 763 F.3d at 197; see also Blackhawk v. Pennsylvania, 381 F.3d 202,

209 (3d Cir. 2004) (“A law fails the general applicability requirement if it

burdens a category of religiously motivated conduct but exempts or does not

reach a substantial category of conduct that is not religiously motivated and

that undermines the purposes of the law to at least the same degree as the

covered conduct that is religiously motivated.”).

   Section 2.61’s regulatory impact statement claims that “[u]nvaccinated

personnel in [healthcare] settings have an unacceptably high risk of both

acquiring COVID-19 and transmitting the virus to colleagues and/or

vulnerable patients or residents, exacerbating staffing shortages, and causing

unacceptably high risk of complications.” Ex. A to Compl. at 78.

   But as plaintiffs point out, the medical exemption that remains in the

current iteration of the State’s vaccine mandate expressly accepts this

“unacceptable” risk for a non-zero segment of healthcare workers. Pls.’ Mem.

at 13. Although defendants claim that they expect the number of people in

need of a medical exemption to be low, Rausch-Phung Decl. ¶¶ 65–66, the

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Supreme Court has recently emphasized that “[c]omparability is concerned

with the risks various activities pose,” not the reasons for which they are

undertaken. Tandon v. Newsom, 141 S. Ct. 1294, 1297 (2021). Thus, absent

further factual development the Court cannot conclude that § 2.61 satisfies

the requirement of “general applicability.”

   Finally, plaintiffs have established at this early stage of the litigation

that § 2.61 is likely to fail strict scrutiny. To satisfy strict scrutiny,

defendants must show that the challenged law advances “interests of the

highest order” and is “narrowly tailored” to achieve those interests. Fulton v.

City of Phila., Pa., 141 S. Ct. 1868, 1881 (2021) (quoting City of Hialeah, 508

U.S. at 546). “Put another way, so long as the government can achieve its

interests in a manner that does not burden religion, it must do so.” Id.

   Defendants have satisfied the first component of this analysis. Roman

Catholic Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 67 (2020) (“Stemming

the spread of COVID-19 is unquestionably a compelling interest.”). However,

they have failed to establish that § 2.61—and in particular, its intentional

omission of a religious exemption—is narrowly tailored to address that public

health concern.

   “Narrow tailoring requires the government to demonstrate that a policy is

the ‘least restrictive means’ of achieving its objective.” Agudath Israel of Am.,

983 F.3d at 633 (quoting Thomas, 450 U.S. at 718). The asserted justification

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“must be genuine, not hypothesized or invented post hoc in response to

litigation.” United States v. Virginia, 518 U.S. 515, 533 (1996). “And the

government must show that it ‘seriously undertook to address the problem

with less intrusive tools readily available to it.’” Agudath Israel of Am., 983

F.3d at 633 (quoting McCullen v. Coakley, 573 U.S. 464, 494 (2014)).

   Defendants have not made this showing. According to the “alternative

approaches” component of § 2.61’s regulatory impact statement, the Health

Council considered two alternatives: (1) daily testing before each shift; and

(2) wearing appropriately fitted N95 face masks at all times. Ex. A to Compl.

at 81; see also Defs.’ Opp’n at 21.

   However, there is no adequate explanation from defendants about why the

“reasonable accommodation” that must be extended to a medically exempt

healthcare worker under § 2.61 could not similarly be extended to a

healthcare worker with a sincere religious objection. Fulton, 141 S. Ct. at

1881 (cautioning courts to “scrutinize[ ] the asserted harm of granting specific

exemptions to particular religious claimants”).

   Nor have defendants explained why they chose to depart from similar

healthcare vaccination mandates issued in other jurisdictions that include

the kind of religious exemption that was originally present in the August 18

Order. Pl.’s Mem. at 17 (citing Illinois and California COVID-19 regulations

that include religious exemption language); see also Roman Catholic Diocese

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of Brooklyn, 141 S. Ct. at 67 (finding tailoring requirement unsatisfied where,

inter alia, the challenged restriction was “much tighter than those adopted by

many other jurisdictions hard-hit by the pandemic”); Mast v. Fillmore Cty.,

Minn., 141 S. Ct. 2430, 2433 (2021) (Gorsuch, J., concurring) (“It is the

government’s burden to show this alternative won’t work; not the

[challenger’s] to show it will.”).

   In sum, “[t]o meet the requirement of narrow tailoring, the government

must demonstrate that alternative measures imposing lesser burdens on

religious liberty would fail to achieve the government’s interests, not simply

that the chosen route was easier.” Agudath Israel of Am., 983 F.3d at 633

(cleaned up). Defendants have not done so. Accordingly, plaintiffs are likely

to succeed on the merits of this constitutional claim.

   B. The Balance of Hardships & The Public Interest

   Plaintiffs have also satisfied the remaining elements necessary to warrant

preliminary injunctive relief. Where, as here, a governmental defendant is

the party opposing relief, “balancing of the equities merges into [the court’s]

consideration of the public interest.” SAM Party of N.Y. v. Kosinski, 987 F.3d

267, 278 (2d Cir. 2021).

   First, the public interest lies with enforcing the guarantees enshrined in

the Constitution and federal anti-discrimination law. See, e.g., Paykina ex

rel. E.L. v. Lewin, 387 F. Supp. 3d 225, 245 (N.D.N.Y. 2019) (“The public

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interest generally supports granting a preliminary injunction where . . . a

plaintiff has established a clear likelihood of success on the merits and made

a showing of irreparable harm.”).

   Second, the balance of hardships clearly favors plaintiffs. Defendants

argue that a preliminary injunction will hinder its “ongoing efforts to curb

the spread” of SARS-CoV-2. Defs.’ Opp’n at 26. According to defendants, the

spread of SARS-CoV-2 among health care workers “imposes staffing burdens

on already strained hospital and healthcare operations due to quarantining

requirements and potential length of illness when healthcare workers become

infected.” Id. at 26–27.

   However, defendants acknowledge that § 2.61 still includes a medical

exemption that requires covered entities to make a “reasonable

accommodation.” As plaintiffs point out, defendants have not shown that

granting the same benefit to religious practitioners that was originally

included in the August 18 Order “would impose any more harm—especially

when Plaintiffs have been on the front lines of stopping COVID for the past

18 months while donning PPE and exercising other proper protocols in

effectively slowing the spread of the disease.” Pls.’ Mem. at 20.




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V. CONCLUSION 10

   The question presented by this case is not whether plaintiffs and other

individuals are entitled to a religious exemption from the State’s workplace

vaccination requirement. Instead, the question is whether the State’s

summary imposition of § 2.61 conflicts with plaintiffs’ and other individuals’

federally protected right to seek a religious accommodation from their

individual employers.

   The answer to this question is clearly yes. Plaintiffs have established

that § 2.61 conflicts with longstanding federal protections for religious beliefs

and that they and others will suffer irreparable harm in the absence of

injunctive relief. Tandon, 141 S. Ct. at 1297 (finding irreparable harm from

loss of free exercise rights for even minimal periods of time). Plaintiffs have

also satisfied the remaining elements necessary to obtain preliminary relief.

   To reiterate, these conclusions have nothing to do with how an individual

employer should handle an individual employee’s religious objection to a

workplace vaccination requirement. But they have everything to do with the

proper division of federal and state power. Cf. Arizona v. United States, 567

U.S. 387, 398 (2012) (“Federalism, central to the constitutional design, adopts




   10 The bond requirement is waived. See FED. R. CIV. P. 65(c).


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the principle that both the National and State Governments have elements of

sovereignty the other is bound to respect.”).

   In granting a preliminary injunction, the Court recognizes that it may not

have the final word. Under 28 U.S.C. § 1292(a)(1), “Congress permits, as an

exception to the general rule, an immediate appeal from an interlocutory

order that either grants or denies a preliminary injunction.” N.Y. State Nat’l

Org. for Women v. Terry, 886 F.2d 1339, 1350 (2d Cir. 1989). Because the

issues in dispute are of exceptional importance to the health and the religious

freedoms of our citizens, an appeal may very well be appropriate.

   Therefore, it is

   ORDERED that

   1. Plaintiffs’ motion to proceed pseudonymously is GRANTED 11;

   2. Plaintiffs’ motion for a preliminary injunction is GRANTED;

   3. Defendants, their officers, agents, employees, attorneys and successors

in office, and all other persons in active concert or participation with them,

are preliminarily ENJOINED from enforcing, threatening to enforce,

attempting to enforce, or otherwise requiring compliance with § 2.61 such

that:




   11 Plaintiffs requested leave to proceed pseudonymously. Compl. ¶¶ 26–34. Defendants do not
oppose. Defs.’ Opp’n at 3 n.2.

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       (a) Section 2.61 is suspended in operation to the extent that the

       Department of Health is barred from enforcing any requirement that

       employers deny religious exemptions from COVID-19 vaccination or

       that they revoke any exemptions employers already granted

       before § 2.61 issued;

       (b) The Department of Health is barred from interfering in any way

       with the granting of religious exemptions from COVID-19 vaccination

       going forward, or with the operation of exemptions already granted;

and

       (c) The Department of Health is barred from taking any action,

       disciplinary or otherwise, against the licensure, certification, residency,

       admitting privileges or other professional status or qualification of any

       of the plaintiffs on account of their seeking or having obtained a

       religious exemption from mandatory COVID-19 vaccination.

  IT IS SO ORDERED.



Dated: October 12, 2021
       Utica, New York.




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